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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No. 2:19-cr-00642-VAP
Plaintiff,
ae on GRANTING
vs. ODIFICATION OF BOND
IMAAD SHAH ZUBERI,
Defendant.

 

For good cause shown and pursuant to the parties’ Stipulation to Modify Bond, IT

IS HEREBY ORDERED that Defendant Imaad Shah Zuberi’s appearance bond of
$3,000,000 with an affidavit of surety without justification from the law firm of
Hochman Salkin Toscher Perez P.C. be modified to a collateral bond consisting of
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a deposit of $3,000,000 in United States currency with the United States District Court,

Clerk of Court within three court d S oft this order. A7/ ether cruertn ras
of tHe bows Are yo Vest pw Ws evra)
IT IS SO ORDERED.

DATED: “//P___,2019

Hon. Charles F. Eick
United States Magistrate Judge

Submitted by:

 

 

Thomas P. O’Brien
BROWNE GEORGE ROSS LLP

 

 

 
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UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

— 7 "Vy
Case Name: United States of America v. Linco. “Soh. 2s: lect Case No. Cav _ (YW ). \ WP
[J Defendant [_] Material Witness
Violation of Title and Section: xo? \. \ ‘ds , \ q ( a) ( on ‘abe *) “2k \,
[-]Summons_ [] ‘Out of District [—] ‘Under Seal 7 Modified Date: \ \ \ & \8 4

Personal Recognizance (Signature Only) Affidavit of Surety With Justification
UW - U (Form CR-3) Signed by:

 

 

Release No.

[] Unsecured Appearance Bond
$

[~] Appearance Bond
$

 

 

|] Release to Pretrial ONLY
[_] Release to Probation ONLY
[_] Forthwith Release

 

 

 

Cash Deposit (Amount or %)
L] Cash Deposit ( ° [_] With Full Deeding of Property

 

 

[_] Affidavit of Surety Without
Justification (Form CR-4) Signed by:

 

All Conditions of Bond
eee t Clearing- Warrants
Con dition) Must be Met

LiTiatig

 

 

 

 

 

 

 

 

 

 

{_] Third-Party Custody
[Wf Collateral Bond in the Amount of (Cash Affidavit (Form CR-31)
$ %y ) O8d 7 OM — (det Fixed by Court:
t ev
[_] Corporate Surety Bond in the Amount of: /
$ (Judge / Clerk's Initials)

 

 

 

 

 

PRECONDITIONS TO RELEASE

[_] The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).

 

[-] The Court has ordered a Nebbia hearing under § 3142 (g)(4).
[~] The Nebbia hearing is set for at Mam. 0 p.m.

 

ADDITIONAL CONDITIONS OF RELEASE

In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:

[_] Submit to: [_] Pretrial Services Agency (PSA) supervision as directed by PSA; [_] Probation (USPO) supervision as directed by USPO.
(The agency indicated above, PSA or RYO. will be referred to below as "Supervising Agency."

hams O* Priav
fi Surrender all passports and travel documents to we wt no later than ~~ , sign a Declaration

re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency

 

of this case.

[_] Travel is restricted to unless prior permission is granted by Supervising

 

Agency to travel to a specific other location. Court permission is required for international travel.
[_] Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.

[_] Maintain or actively seek employment and provide proof to Supervising Agency. [_] Employment to be approved by Supervising Agency.
[| Maintain or begin an educational program and provide proof to Supervising Agency.

Defendant's Initials: Date:

 

CR-1 (10/17) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 1 OF 4
Case 2:19-cr-00642-V., Document 2Q Filed 11/08/19 Page 4of6 Page ID #:149
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Case Name: United States of Americav. __ Maad Sa ~ a he al Case No. co\ \- (4 ie \ VA ?
[7] Defendant [_] Material Witness

[_] Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or

 

witness in the subject investigation or prosecution, [_] including but not limited to

;[_| except

~ {_] Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence

 

 

 

of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

 

C] Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. L] In order to determine compliance,
you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
own legal or true name without prior permission from Supervising Agency. [_] In order to determine compliance, you agree
to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[_] Do not engage in telemarketing.

[_] Do not sell, transfer, or give away any asset valued at $ or more without notifying and obtaining

 

permission from the Court, except

 

[_] Do not engage.in tax preparation for others.

[_] Do not use alcohol.

[_| Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
Supervising Agency.

["] Do not use or possess illegal drugs or state-authorized medical marijuana. [| In order to determine compliance, you agree to
submit to a search of your person, and/or property by Supervising Agency in conjunction with the U.S. Marshal.

L_] Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
prescribed by a medical doctor.

[_] Submit to: [_]drug and/or [_Jalcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.

[_] Participate in residential ["] drug and/or [_] alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
of treatment based upon your ability to pay as determined by Supervising Agency. [_]Release to PSA only [_]Release to USPO only

[_] Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.

[_] Participate in the Location Monitoring Program and abide by all of the requirements of the program, under the direction of Supervising
Agency, which []will or [_]will not include a location monitoring bracelet. You must pay all or part of the costs of the program based
upon your ability to pay as determined by Supervising Agency. You must be financially responsible for any lost or damaged equipment.
[_] Location monitoring only - no residential restrictions; .

-or-
[_] You are restricted to your residence every day:
[_] from Olam. p.m. to Cam. 2 p.m.
[_] as directed by Supervising Agency;
-or-

Defendant's Initials: Date:
CR-1 (10/17) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 2 OF 4

 

 
Case 2:19-cr-00642-VAP_Document 2Q Filed 11/08/19 Page 5of6 Page ID Kar,
ome . AY
Case Name: United States of America v. LN Kod els ~ Lhe \ Case No. Ce 4 L ML \J Ky

 

 

| Defendant {_] Material Witness

[_] You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and

, all of which must be preapproved by Supervising Agency;

 

[_] Release to PSA only [_] Release to USPO only
[_] You are placed in the third-party custody (Form CR-31) of

 

[_] Clear outstanding [_] warrants or[_] DMV and traffic violations and provide proof to Supervising Agency within ___ days
of release from custody.

[_] Do not possess or have access to, in the home, the workplace, or any other location, any device that offers internet access except
as approved by Supervising Agency. [_] In order to determine compliance, you agree to submit to a search of your person
and/or property by Supervising Agency in conjunction with the U.S. Marshal.

[] Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
the-age of 18 except in the presence of a parent or legal guardian of the minor.

[_] Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
‘under the age of 18.

[] Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare
facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.

[-] Do not view or possess child pornography or child erotica. ["] In order to determine compliance, you agree to submit to a search

of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S,

Marshal.
[Other conditions:

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Ninaroc, be Wem wis hogs of Labedss Raherku: CMading Koka &
Yo nartore Luskes ole raced & Qs Qose OF rcv Ae & Ckown |

 

 

GENERAL CONDITIONS OF RELEASE
I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other

United States District Court to which I may be removed or to which the case may be transferred.

I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
direction in connection with such judgment as the Court may prescribe.

I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
so that I may be reached at all times.

I will not commit a federal, state, or local crime during the period of release.
I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be

subject to further prosecution under the applicable statutes.

4
I will cooperate in the collection ofa DNA sample under 42 U.S.C. § 14135a.

_ Defendant's Initials: Date:

 

 

CR-T (10/17) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 3 OF 4
Case 2:19-cr-00642-VAP_ Document 29, a te aa Page 6 of 6 .Page ID #151 \,
Case Name: United States of America v. 28 LM KOS D ew Case No. Cay \~ Ly L- wy

[JDefendant [_] Material Witness

 

 

ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
and understand the general conditions of release, the preconditions, and the additional conditions of release and a to comply with
all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
continue in full force and effect until such time as duly exonerated.

I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
release, an order of detention, and a new prosecution for an additional offense which could result in a term of i imprisonment and/or
fine.

I further understand that if! fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
forfeited.

 

 

Date . Defendant / Material Witness’ Signature Telephone Number

 

City and State (DO NOT INCLUDE ZIP CODE)

[_] Check if interpreter is used: I have interpreted into the language this entire form
and have been told by the defendant that he or she understands all of it.

 

 

 

 

 

Interpreter's Signature Date
Approved:

United States District Judge / Magistrate Judge Date
If cash deposited: Receipt # for $

 

(This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)

Defendant's Initials: Date:
CR-1 (10/17) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM PAGE 4 OF 4

 

 
